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                              FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          ROBIN HALL; STEVEN SUMMERS,                        No. 20-16232
          Individually and on behalf of all
          others similarly situated,                           D.C. No.
                           Plaintiffs-Appellants,           4:20-cv-03454-
                                                                 HSG
                               v.

          UNITED STATES DEPARTMENT OF                          OPINION
          AGRICULTURE; GEORGE PERDUE, In
          his official capacity as United States
          Secretary of Agriculture,
                          Defendants-Appellees.

                   Appeal from the United States District Court
                     for the Northern District of California
                 Haywood S. Gilliam, Jr., District Judge, Presiding

                     Argued and Submitted October 20, 2020
                           San Francisco, California

                             Filed December 31, 2020

         Before: Sidney R. Thomas, Chief Judge, and Paul J. Kelly,
                  Jr. * and Eric D. Miller, Circuit Judges.


             *
               The Honorable Paul J. Kelly, Jr., United States Circuit Judge for
         the U.S. Court of Appeals for the Tenth Circuit, sitting by designation.
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                            Opinion by Judge Miller;
                         Dissent by Chief Judge Thomas


                                   SUMMARY **


                  Supplemental Nutrition Assistance Program

             The panel affirmed the district court’s order denying a
         motion for a preliminary injunction brought by a putative
         class of Californians, who normally receive the maximum
         monthly allotment of Supplemental Nutrition Assistance
         Program (“SNAP”) benefits, seeking to bar the U.S.
         Department of Agriculture (“USDA”) from denying
         California’s request under section 2302(a)(1) of the Families
         First Coronavirus Response Act to issue emergency
         allotments to households already receiving maximum SNAP
         benefits.

             In response to the COVID-19 pandemic, Congress
         enacted the Families First Act, which provided for
         supplemental SNAP benefits.              The USDA, which
         administers SNAP, concluded that the statute allowed
         households receiving less than the maximum monthly
         allotment of SNAP benefits to be brought up to the
         maximum but did not permit those already receiving the
         maximum to be given any additional benefits. USDA
         rejected, as contrary to its guideline, California’s request that
         all SNAP households in the State receive an extra $60 per
         person, per month.

             **
               This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
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             The panel held that plaintiffs had Article III standing.
         The panel held that plaintiffs satisfied the redressability
         requirement by submitting a declaration from a California
         official stating that if the court entered a favorable
         injunction, California would renew its request for emergency
         benefits for households receiving the maximum regular
         monthly benefit.

             The panel rejected plaintiffs’ contention that the plain
         language of section 2302(a)(1) foreclosed USDA’s position
         that SNAP households that already receive the maximum
         monthly allotment were not eligible for emergency
         allotments. The panel held that USDA’s interpretation of
         section 2302(a)(1) was not subject to deferential review
         under Chevron. The panel further held that the agency had
         the better reading of the statute without regard to any
         principles of deference, and the panel need not consider
         whether the deference prescribed in Skidmore v. Swift & Co.,
         323 U.S. 134 (1944), applied here. The panel proceeded to
         construe the statute de novo.

             Examining the Families First Act as a whole, as well as
         other statutes addressing emergency SNAP benefits, the
         panel held that three considerations led it to conclude that
         the government’s reading of section 2302(a)(1) was more
         consistent with the overall statutory scheme. First, the
         government’s reading found support in section 2302(a)(2),
         the provision immediately following the one at issue.
         Second, topping off SNAP benefits at the maximum monthly
         allotment for all participants was consistent with the statute
         governing USDA’s response to other crises. Third, if
         Congress wished to provide across-the-board relief to
         households based on increased food costs, it would have
         most naturally modified the metric designed to measure
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         those costs – the thrifty food plan. See 7 U.S.C. §§ 2012(u),
         2017(a).

             The panel concluded that because plaintiffs were
         unlikely to succeed on the merits of their claims, the district
         court did not abuse its discretion in denying a preliminary
         injunction.

             Chief Judge Thomas dissented because he would hold
         that plaintiffs established a clear likelihood of success on
         their claims that the agency’s interpretation of section
         2302(a)(1) of the Families First Act could not stand under 5
         U.S.C. § 706(2). The plain language of section 2302(a)(1)
         compelled the conclusion that Congress did not intend to
         limit the emergency assistance available under that provision
         to the maximum amount that SNAP households may receive
         under non-emergency conditions. Chief Judge Thomas
         would reverse the denial of the preliminary injunction and
         remand to the district court for consideration of the
         remaining factors under Winter v. NRDC, Inc., 555 U.S. 7,
         20 (2008).


                                  COUNSEL

         Alexander Prieto (argued), Richard Rothschild, and
         Antionette D. Dozier, Western Center on Law & Poverty,
         Los Angeles, California; Lindsay Nako, Jocelyn D. Larkin,
         and David S. Nahmias, Impact Fund, Berkeley, California;
         for Plaintiffs-Appellants.

         Joshua K. Handell (argued) and Michael S. Raab, Appellate
         Staff; Ethan P. Davis, Acting Assistant Attorney General;
         Civil Division, United States Department of Justice,
         Washington, D.C.; Ryan M. Majerus, Senior Counsel;
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         Stephen A. Vaden, General Counsel; Office of the General
         Counsel, United States Department of Agriculture,
         Washington, D.C.; for Defendants-Appellees.


                                 OPINION

         MILLER, Circuit Judge:

             As part of its response to the COVID-19 pandemic,
         Congress enacted the Families First Coronavirus Response
         Act (Families First Act), Pub. L. No. 116-127, 134 Stat. 178
         (2020), which provides for emergency assistance to
         households participating in the Supplemental Nutrition
         Assistance Program (SNAP). Section 2302(a)(1) of the
         Families First Act authorizes “emergency allotments to
         households participating in [SNAP] . . . to address
         temporary food needs not greater than the applicable
         maximum monthly allotment for the household size.” Id.
         § 2302(a)(1), 134 Stat. at 188. The United States Department
         of Agriculture (USDA), which administers SNAP,
         concluded that the statute allows households receiving less
         than the maximum monthly allotment of SNAP benefits to
         be brought up to the maximum but does not permit those
         already receiving the maximum to be given any additional
         benefits. We are asked to decide whether USDA has
         correctly interpreted the statute. We conclude that it has.

                                      I

             Congress created SNAP—formerly known as the food
         stamp program—to

                “alleviate . . . hunger and malnutrition” by
                “increasing [the] food purchasing power” of
                low-income households. 7 U.S.C. § 2011; see
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                Food, Conservation, and Energy Act of 2008,
                Pub. L. No. 110-246, § 4001(b), 122 Stat.
                1651, 1853–82. SNAP is a federally funded,
                state-administered program that distributes
                monthly benefits, or “allotments,” to eligible
                households. 7 U.S.C. §§ 2013(a), 2020.
                Households can use those allotments “to
                purchase food from retail food stores.” Id.
                § 2013(a).

             A household’s monthly allotment is calculated by
         reference to the “thrifty food plan,” which is “the diet
         required to feed a family of four,” as determined by the
         Secretary of Agriculture. 7 U.S.C. §§ 2012(u), 2017(a). The
         value of each household’s allotment is equal to the cost of
         the thrifty food plan, adjusted for household size, minus
         30 percent of the household’s income. Id. § 2017(a).
         Households with no income receive the maximum monthly
         allotment, which is equal to the entire cost of the thrifty food
         plan, adjusted for household size. Id. §§ 2012(u), 2017(a).

             On March 18, 2020, Congress enacted the Families First
         Act, which provides for supplemental SNAP benefits in
         response to the COVID-19 pandemic. See Families First Act,
         § 2302, 134 Stat. at 188. “In the event of a public health
         emergency declaration by the Secretary of Health and
         Human Services . . . based on an outbreak of [COVID-19]
         and the issuance of an emergency or disaster declaration by
         a State based on an outbreak of COVID-19,” section
         2302(a)(1) of the Families First Act directs the Secretary of
         Agriculture to provide “for emergency allotments to
         households participating in [SNAP] under the Food and
         Nutrition Act of 2008 to address temporary food needs not
         greater than the applicable maximum monthly allotment for
         the household size.” Id. § 2302(a)(1), 134 Stat. at 188.
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         Section 2302(a)(2) further permits the Secretary to “adjust,
         at the request of State agencies or by guidance in
         consultation with one or more State agencies, issuance
         methods and application and reporting requirements under
         the Food and Nutrition Act of 2008 to be consistent with
         what is practicable under actual conditions in affected
         areas.” Id. § 2302(a)(2), 134 Stat. at 188.

            When Congress enacted the Families First Act, the
         Secretary of Health and Human Services had already issued
         the emergency declaration required to invoke section
         2302(a)(1). See Press Release, United States Department of
         Health and Human Services, Secretary Azar Declares Public
         Health Emergency for United States for 2019 Novel
         Coronavirus (Jan. 31, 2020). Individual States, including
         California, had followed suit with their own disaster
         declarations. See Press Release, Gavin Newsom, Governor
         of California, Governor Newsom Declares State of
         Emergency to Help State Prepare for Broader Spread of
         COVID-19 (Mar. 4, 2020).

             USDA immediately began to implement the Families
         First Act. On March 20, the agency issued a sample request
         form for States entitled “Request to Provide Emergency
         Allotments (Supplements) to SNAP Households.” The form
         suggested that a requesting State frame its request so as “to
         bring all households up to the maximum benefit due to
         pandemic related economic conditions for up to 2 months.”
         The form also asked the State to certify that COVID-19 had
         affected the medical and economic wellbeing of its residents,
         as measured by criteria such as whether “[r]esidents of the
         State are confirmed to have contracted Covid-19” and
         whether “[b]usinesses have closed or significantly reduced
         their hours.”
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             The California Department of Social Services submitted
         to USDA a request for emergency allotments. But
         California’s request did not seek to top off the SNAP
         benefits of participating households at “the maximum
         benefit,” as contemplated by USDA’s guidance. Instead, to
         ensure that those households already receiving the maximum
         benefit would still receive an emergency allotment,
         California proposed that all SNAP households in the State
         receive an extra $60 per person, per month.

             USDA rejected California’s request as contrary to the
         guidance in the sample request form. Reserving its
         objections, California then revised its request “in
         accordance” with USDA’s guidance. USDA approved the
         revised request, reiterating the agency’s position that “SNAP
         households that already receive the maximum monthly
         allotment for their household size are not eligible for
         [emergency allotments].”

              On April 21, USDA restated that view in an updated
         guidance. Later that month, California asked to extend the
         distribution of emergency allotments to eligible households
         in line with its revised request. USDA approved the request.

             Although the State of California continues to disagree
         with USDA’s interpretation of the statute, it has not
         challenged that interpretation in court. The plaintiffs in this
         case, Robin Hall and Steven Summers (collectively, “Hall”),
         are Californians who normally receive the maximum
         monthly allotment of SNAP benefits and therefore are not
         eligible for emergency allotments under USDA’s
         interpretation of the Families First Act. Hall brought this
         putative class action against USDA and the Secretary of
         Agriculture challenging the agency’s interpretation of
         section 2302(a)(1) as arbitrary and capricious and in excess
         of statutory authority. See 5 U.S.C. § 706(2). Hall also
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         sought a preliminarily injunction barring USDA “from
         denying any otherwise appropriate request from California
         under section 2302(a)(1) . . . because it provides emergency
         [SNAP] allotments to households receiving the maximum
         monthly benefit amount.”

             The district court denied a preliminary injunction. Hall
         v. USDA, 467 F. Supp. 3d 838 (N.D. Cal. 2020). The court
         began by explaining that to obtain a preliminary injunction,
         a plaintiff must establish that (1) she “is likely to succeed on
         the merits,” (2) she “is likely to suffer irreparable harm in
         the absence of preliminary relief,” (3) “the balance of
         equities tips in [her] favor,” and (4) “an injunction is in the
         public interest.” Id. at 844 (quoting Winter v. NRDC, Inc.,
         555 U.S. 7, 20 (2008)). Mandatory injunctions requiring a
         deviation from the status quo, the court noted, are
         “particularly disfavored.” Id. (quoting Garcia v. Google,
         Inc., 786 F.3d 733, 740 (9th Cir. 2015)).

             Turning to section 2302(a)(1), the district court
         “acknowledge[d] that [Hall’s] facial reading of Section 2302
         has some persuasive force,” but it determined that the statute
         is not “unambiguous on its face.” 467 F. Supp. 3d at 845.
         The court noted that USDA had estimated “that providing
         emergency allotments to raise all SNAP households to the
         maximum monthly allotment will cost an additional
         $2 billion per month,” and that Congress had appropriated
         six months’ worth of such funding shortly after it enacted the
         Families First Act. Id. at 846; see Coronavirus Aid, Relief,
         and Economic Security Act, Pub. L. No. 116-136, § 6002,
         134 Stat. 281, 508 (Mar. 27, 2020). Hall’s interpretation, by
         contrast, “would cost an additional $6.7 to $7 billion per
         month, and would quickly outpace SNAP’s appropriated
         funds.” 467 F. Supp. 3d at 847. The court also observed that
         “Congress has not suggested that the USDA’s guidance or
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         its implementation of the [Families First Act] is inconsistent
         with its intention,” and that, “[t]o the contrary, some
         members of Congress have publicly lamented that the
         [Families First Act] did not go far enough in assisting SNAP
         participants, and advocated for increasing the maximum
         monthly allotment.” Id. (footnote omitted). The court
         concluded that because section 2302(a)(1) is ambiguous, and
         USDA’s interpretation is reasonable, Hall did not show “a
         ‘clear likelihood of success on the merits,’ as [a plaintiff]
         must to obtain a mandatory injunction.” Id. at 848 (quoting
         Stanley v. University of S. Cal., 13 F.3d 1313, 1316 (9th Cir.
         1994)).

             Finally, although the district court declined to reach the
         remaining preliminary-injunction factors, it noted
         “considerable reservations” about Hall’s “ability to establish
         redressability” because even after a favorable ruling,
         “California, an independent sovereign, must renew its
         request for emergency allotments” before applicants can
         receive them. 467 F. Supp. 3d at 848.

             After the district court denied a preliminary injunction,
         Hall asked this court for an emergency injunction pending
         appeal. A motions panel denied an injunction but ordered
         that the appeal be expedited.

                                       II

             Before we turn to the merits of the appeal, we consider
         whether we have jurisdiction. Article III defines the
         jurisdiction of the federal courts in terms of “cases” and
         “controversies,” and the requirement that a plaintiff have
         standing “is an essential and unchanging part of the case-or-
         controversy requirement.” Lujan v. Defenders of Wildlife,
         504 U.S. 555, 559–60 (1992); see U.S. Const. art. III, § 2.
         To satisfy “the irreducible constitutional minimum of
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         standing,” a plaintiff must establish three elements: (1) that
         the plaintiff has “suffered an injury in fact—an invasion of a
         legally protected interest which is (a) concrete and
         particularized and (b) actual or imminent, not conjectural or
         hypothetical,” (2) that there is “a causal connection between
         the injury and the conduct complained of,” and (3) that it is
         “likely, as opposed to merely speculative, that the injury will
         be redressed by a favorable decision.” Lujan, 504 U.S.
         at 560–61 (internal quotation marks and citations omitted).

              In this case, Hall’s injury comes from not receiving
         emergency allotments, but Hall cannot receive allotments
         unless the State of California, which is not a party to this
         litigation, first requests them. And because the statute gives
         States discretion in framing their requests, any future request
         from California would not necessarily cover Hall. Indeed,
         although California initially proposed that emergency
         allotments be distributed to all SNAP households, including
         those already receiving the maximum monthly allotment, it
         then revised its request to comport with USDA’s guidance.
         So even if Hall secured a ruling that she is eligible to receive
         emergency allotments under section 2302(a)(1), California
         would have to submit a new request along the lines of its
         initial request before Hall could obtain any concrete relief.

             Although the government raises this issue, it does not
         expressly argue that Hall lacks standing. Nevertheless, even
         when “the parties have not raised the issue of . . . standing,
         we recognize a duty to examine this issue sua sponte”
         because it affects our subject-matter jurisdiction. Safari Club
         Int’l v. Rudolph, 862 F.3d 1113, 1117 n.1 (9th Cir. 2017).

             The requirement of standing means that a federal court
         may “act only to redress injury that fairly can be traced to
         the challenged action of the defendant, and not injury that
         results from the independent action of some third party not
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         before the court.” Simon v. Eastern Ky. Welfare Rights Org.,
         426 U.S. 26, 41–42 (1976). As we have explained, however,
         “[r]edressability does not require certainty, but only a
         substantial likelihood that the injury will be redressed by a
         favorable judicial decision.” Northwest Requirements Utils.
         v. FERC, 798 F.3d 796, 806 (9th Cir. 2015) (quoting
         Washington Env’t Council v. Bellon, 732 F.3d 1131, 1146
         (9th Cir. 2013)); accord Renee v. Duncan, 686 F.3d 1002,
         1013 (9th Cir. 2012). That requirement does not
         categorically “exclude injury produced by determinative or
         coercive effect upon the action of someone else.” Bennett v.
         Spear, 520 U.S. 154, 169 (1997). Thus, even if an
         independent actor retains discretion to deny relief to the
         plaintiff following a favorable ruling, the plaintiff can
         “adduce facts showing that those choices have been or will
         be made in such manner as to . . . permit redressability of
         injury.” Lujan, 504 U.S. at 562.

             We conclude that Hall has satisfied that requirement. To
         address the redressability concerns identified by the district
         court, Hall attached to her motion for an injunction pending
         appeal a declaration from Alexis Carmen Fernández, Chief
         of the CalFresh and Nutrition Services Branch of the
         California Department of Social Services. The declaration
         states that if the court were to enter an injunction requiring
         USDA to authorize emergency allotments for SNAP
         households receiving the maximum monthly allotment,
         California “would promptly revise and renew its request for
         emergency allotments for future benefit months,” and its
         new request “would include emergency benefits for
         households receiving the maximum regular monthly benefit
         amount.” That is sufficient to demonstrate a “significant
         increase in the likelihood that the plaintiff would obtain
         relief that directly redresses the injury suffered.” Renee,
         686 F.3d at 1013 (quoting Utah v. Evans, 536 U.S. 452, 464
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         (2002)); see also Interpipe Contracting, Inc. v. Becerra,
         898 F.3d 879, 891 n.9 (9th Cir. 2018) (plaintiff had standing
         to challenge prohibition on third parties’ contributions to
         plaintiff based on declarations demonstrating third parties’
         “concrete intentions to resume contributions” upon a
         favorable ruling).

              To be sure, the declaration does not establish exactly
         what kind of request the State would submit in response to a
         favorable decision. In particular, it does not say that
         California would submit a request identical to the State’s
         initial request, nor does it say that whatever request it did
         submit would necessarily cover Hall. The government
         argues that the requested injunction would “order USDA to
         approve a hypothetical application that may or may not be
         anticipated by a non-party State agency that has not
         committed to including Plaintiffs within the scope of its
         emergency-allotment request and has offered no information
         about how much, if any at all, Plaintiffs stand to gain from
         such a request.” Even though Hall has established a
         “significant increase in the likelihood” of relief sufficient to
         establish standing, the uncertainty about what the State will
         do remains relevant to the question of irreparable harm in the
         preliminary-injunction analysis. Renee, 686 F.3d at 1013
         (quoting Evans, 536 U.S. at 464). We need not explore that
         issue further, however, because we conclude that Hall has
         not shown a likelihood of success on the merits.

                                       III

             As the district court correctly recognized, the decision
         whether to grant a preliminary injunction is governed by the
         four factors the Supreme Court articulated in Winter. See
         555 U.S. at 20. Here, we conclude that likelihood of success
         on the merits is determinative, so we confine our analysis to
         that factor. “We review the denial of a preliminary injunction
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         for abuse of discretion and the underlying legal principles de
         novo.” Fyock v. Sunnyvale, 779 F.3d 991, 995 (9th Cir.
         2015).

            Hall contends that she is likely to succeed on the merits
         because the plain language of section 2302(a)(1) forecloses
         USDA’s position that SNAP households that already receive
         the maximum monthly allotment are not eligible for
         emergency allotments. We disagree.

                                       A

             We begin by considering what, if any, deference we owe
         to USDA’s interpretation of section 2302(a)(1). Often, when
         construing a statute that is administered by a federal agency,
         we review the agency’s interpretation under the framework
         prescribed in Chevron U.S.A. Inc. v. NRDC, Inc., 467 U.S.
         837 (1984). Here, the parties dispute whether USDA’s
         interpretation is subject to review under Chevron. We
         conclude that it is not.

             Although the Court in Chevron described a mode of
         analysis to be applied “[w]hen a court reviews an agency’s
         construction of the statute which it administers,” 467 U.S. at
         842, later Supreme Court decisions have clarified that the
         Chevron analysis does not apply to all agency
         interpretations, see, e.g., United States v. Mead Corp.,
         533 U.S. 218, 231–34 (2001). Instead, “administrative
         implementation of a particular statutory provision qualifies
         for Chevron deference when it appears that Congress
         delegated authority to the agency generally to make rules
         carrying the force of law, and that the agency interpretation
         claiming deference was promulgated in the exercise of that
         authority.” Id. at 226–27; see also Encino Motorcars, LLC
         v. Navarro, 136 S. Ct. 2117, 2124–25 (2016); Pacific Choice
         Seafood Co. v. Ross, 976 F.3d 932, 940 (9th Cir. 2020). By
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         contrast, informal “interpretations contained in policy
         statements, agency manuals, and enforcement guidelines”
         are “beyond the Chevron pale.” Mead, 533 U.S. at 234
         (quoting Christensen v. Harris County, 529 U.S. 576, 587
         (2000)).

             USDA’s interpretation of section 2302(a)(1), as reflected
         in the March 20 sample request form and April 21 update,
         was not promulgated through notice-and-comment
         rulemaking or formal adjudication, and it expressly purports
         not to carry the force of law. See Mead, 533 U.S. at 230. Both
         guidance documents include the following disclaimer: “The
         contents of this document do not have the force and effect of
         law and are not meant to bind the public in any way. This
         document is intended only to provide clarity to the public
         regarding existing requirements under the law or agency
         policies.” Under Mead, such documents are not entitled to
         Chevron deference. See Alaska Dep’t of Env’t Conservation
         v. EPA, 540 U.S. 461, 487 (2004); Northern Cal. River
         Watch v. Wilcox, 633 F.3d 766, 779 (9th Cir. 2011).

             The government contends that the agency’s
         interpretation was not expressed only in the guidance; it also
         was applied in an informal adjudication—specifically,
         USDA’s denial of California’s first request for emergency
         allotments. In some circumstances, an interpretation
         developed in an informal adjudication may be entitled to
         Chevron deference. See Kaufman v. Nielsen, 896 F.3d 475,
         484 (D.C. Cir. 2018). But USDA’s interpretation “did not
         originally arise through an . . . adjudication”; instead, the
         agency “expressed its position in guidance documents,”
         upon which it later relied in denying California’s request.
         Orton Motor, Inc. v. U.S. Dep’t of Health & Human Servs.,
         884 F.3d 1205, 1211 (D.C. Cir. 2018). Indeed, USDA’s
         rejection of California’s first request merely referenced the
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         guidance contained in the sample request form, without any
         further elaboration.

             In any event, even if we agreed that USDA developed its
         interpretation through informal adjudication, Chevron
         would apply only to the extent we determined that the
         interpretation was “intended to have general applicability
         and the force of law.” Kaufman, 896 F.3d at 484 (quoting
         Fox v. Clinton, 684 F.3d 67, 78 (D.C. Cir. 2012)). In making
         that determination, we would apply the factors set out in
         Barnhart v. Walton, 535 U.S. 212 (2002), which “are ‘the
         interstitial nature of the legal question, the related expertise
         of the Agency, the importance of the question to
         administration of the statute, the complexity of that
         administration, and the careful consideration the Agency has
         given the question over a long period of time.’” Kaufman,
         896 F.3d at 484 (quoting Barnhart, 535 U.S. at 222).

              Those factors do not support applying Chevron here.
         USDA’s interpretation involves a significant legal question,
         not an “interstitial” one, and there is no indication that
         USDA gave “careful consideration” to “the question over a
         long period of time.” Barnhart, 535 U.S. at 222. USDA’s
         first guidance document—the sample request form—was
         issued just two days after Congress enacted the Families
         First Act, with updated guidance following one month later.
         The contents of the guidance documents also do not evince
         “careful consideration.” The sample request form contains
         no reasoning explaining why households already receiving
         the maximum monthly allotment are not eligible for
         emergency allotments, and the subsequent update merely
         quotes the statute and reaches the same conclusion without
         explanation. For these reasons, USDA’s guidance does not
         satisfy the Barnhart factors, and we conclude that it is not
         subject to deferential review under Chevron.
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              The government suggests that USDA’s interpretation is
         at least entitled to the narrower form of deference prescribed
         in Skidmore v. Swift & Co., 323 U.S. 134 (1944). Deference
         to an agency’s interpretation under Skidmore is limited to the
         interpretation’s “power to persuade.” Id. at 140; see
         Christensen, 529 U.S. at 587. Because we conclude that the
         agency has the better reading of the statute without regard to
         any principles of deference, we need not consider whether
         Skidmore applies here, and we proceed to construe the
         statute de novo. See Turtle Island Restoration Network v.
         U.S. Dep’t of Com., 878 F.3d 725, 733 (9th Cir. 2017).

                                       B

            We begin with the statutory text. See United States v.
         Herrera, 974 F.3d 1040, 1047 (9th Cir. 2020). Section
         2302(a)(1) states in relevant part:

                [T]he Secretary of Agriculture . . . shall
                provide, at the request of a State agency (as
                defined in section 3 of the Food and Nutrition
                Act of 2008) that provides sufficient data (as
                determined by the Secretary through
                guidance) supporting such request, for
                emergency allotments to households
                participating in the supplemental nutrition
                assistance program under the Food and
                Nutrition Act of 2008 to address temporary
                food needs not greater than the applicable
                maximum monthly allotment for the
                household size.

         Families First Act, § 2302(a)(1), 134 Stat. at 188.

            Hall argues that the phrase “not greater than the
         applicable maximum monthly allotment for the household
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         size” modifies “emergency allotments.” On that reading, all
         SNAP households may receive an emergency allotment up
         to the size of the maximum monthly allotment, which means
         that SNAP households already receiving the maximum
         monthly allotment are eligible to receive benefits totaling up
         to twice the maximum. By contrast, the government argues
         that the limiting phrase instead modifies “temporary food
         needs.” On the government’s reading, the statute leaves
         untouched the maximum total benefits a household may
         receive, and only households that normally receive less than
         the maximum monthly allotment are eligible for emergency
         allotments.

             It is grammatically possible to read the limiting phrase to
         modify either “emergency allotments” or “temporary food
         needs.” Hall argues that the statute resolves the ambiguity by
         directing that emergency allotments be provided to
         “households participating in [SNAP],” which in her view
         means all such households. Families First Act, § 2302(a)(1),
         134 Stat. at 188; see Gilliam v. USDA, ___ F. Supp. 3d ___,
         2020 WL 5501220, at *12 (E.D. Pa. Sept. 11, 2020). But
         while section 2302(a)(1) provides that all recipients of
         emergency allotments must be “households participating in
         [SNAP],” nothing in the statute suggests that the converse is
         true—that all participating households must receive
         emergency allotments. It is entirely possible to read the
         limiting phrase as narrowing the pool of eligible recipients.

             Where the language is ambiguous, canons of
         construction can “provide guidance . . . by providing a
         compendium of well-established inferences” about the
         statutory meaning. In re Pangang Grp. Co., 901 F.3d 1046,
         1055–56 (9th Cir. 2018). The government invokes the rule
         of the last antecedent, under which “a limiting clause or
         phrase . . . should ordinarily be read as modifying only the
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         noun or phrase that it immediately follows.” Barnhart v.
         Thomas, 540 U.S. 20, 26 (2003). Strictly speaking, the
         applicable rule in this case is not the rule of the last
         antecedent but the nearest-reasonable-referent canon—
         while pronouns have “antecedents,” phrases such as “not
         greater than the applicable maximum monthly allotment for
         the household size” do not. But the substance of the rule is
         the same: “When the syntax involves something other than a
         parallel series of nouns or verbs, a prepositive or postpositive
         modifier normally applies only to the nearest reasonable
         referent.” Antonin Scalia & Bryan A. Garner, Reading Law:
         The Interpretation of Legal Texts 152 (2012); see Grecian
         Magnesite Mining, Indus. & Shipping Co. v. Commissioner,
         926 F.3d 819, 824 (D.C. Cir. 2019); Travelers Indem. Co. v.
         Mitchell, 925 F.3d 236, 243 (5th Cir. 2019).

             Of course, the canon can be “‘overcome by other indicia
         of meaning,’” as, for example, in a provision where a
         modifier follows a series of “items that readers are used to
         seeing listed together,” or where a “concluding modifier” is
         one “that readers are accustomed to applying to each of” the
         words preceding it. Lockhart v. United States, 136 S. Ct. 958,
         963 (2016) (quoting Barnhart, 540 U.S. at 26). But section
         2302(a) is not such a provision. To the contrary, in section
         2302(a), “it takes more than a little mental energy to
         process” the words preceding the limiting phrase, “making
         it a heavy lift to carry the modifier across them all.” Id.
         Applying the nearest-reasonable-referent canon, we
         conclude that the limiting phrase is best read to modify the
         immediately preceding phrase, “temporary food needs.”
         That reading avoids jumping backward over multiple
         prepositional phrases to reach the intended referent, in favor
         of a more natural reading.
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             But that conclusion does not end the analysis. Even
         assuming that it is “temporary food needs” that must not be
         “greater than the applicable monthly allotment for the
         household size,” the phrase “temporary food needs” is
         susceptible to multiple readings. It could refer to (1) the total
         monthly benefits a household requires, temporarily, during
         the pandemic, or (2) the temporary increase in monthly
         benefits a household requires during the pandemic. Capping
         total monthly benefits at the monthly maximum would deny
         emergency allotments to households already receiving the
         monthly maximum. But capping the increase in monthly
         benefits at the monthly maximum would permit those
         households to receive up to twice the monthly maximum.
         The question remains: Did Congress cap total SNAP benefits
         at the maximum monthly allotment, or did it create a
         separate, additional benefit also tied to SNAP’s maximum
         monthly allotment?

             Viewed in isolation, the text of section 2302(a)(1) does
         not answer the question. “Statutory construction, however,
         is a holistic endeavor,” and “[a] provision that may seem
         ambiguous in isolation is often clarified by the remainder of
         the statutory scheme.” United Sav. Ass’n of Tex. v. Timbers
         of Inwood Forest Assocs., Ltd., 484 U.S. 365, 371 (1988);
         accord Davis v. Michigan Dep’t of Treasury, 489 U.S. 803,
         809 (1989); Friends of Animals v. U.S. Fish & Wildlife Serv.,
         879 F.3d 1000, 1006 (9th Cir. 2018). In addition, “[t]he
         meaning of one statute may be affected by other Acts.” FDA
         v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133
         (2000). Thus, “[w]here a statutory term presented to us for
         the first time is ambiguous, we construe it to contain that
         permissible meaning which fits most logically and
         comfortably into the body of both previously and
         subsequently enacted law.” West Va. Univ. Hosps., Inc. v.
         Casey, 499 U.S. 83, 100 (1991). When we examine the
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         Families First Act as a whole, as well as other statutes
         addressing emergency SNAP benefits, three considerations
         lead us to conclude that the government’s reading of section
         2302(a)(1) is more consistent with the overall statutory
         scheme.

             First, the government’s reading finds support in section
         2302(a)(2), the provision immediately following the one at
         issue. Section 2302(a)(2) permits the Secretary of
         Agriculture to “adjust, at the request of State agencies or by
         guidance in consultation with one or more State agencies,
         issuance methods and application and reporting
         requirements under the Food and Nutrition Act of 2008 to be
         consistent with what is practicable under actual conditions
         in affected areas.” Families First Act, § 2302(a)(2), 134 Stat.
         at 188. In making that adjustment, the Secretary must
         “consider the availability of offices and personnel in State
         agencies, any conditions that make reliance on electronic
         benefit transfer systems . . . impracticable, [and] any
         disruptions of transportation and communication facilities.”
         Id. That new flexibility makes sense as a way of addressing
         the concern that USDA might not have access to key
         information affecting households’ eligibility for SNAP
         benefits, including changes in income. Congress relaxed
         “application and reporting requirements” so that USDA
         could quickly top-off benefits to offset sudden disruptions in
         income. Id.; compare 7 C.F.R. § 273.2(f) (requiring State
         verification of income and other eligibility requirements).
         On the government’s reading, paragraphs (a)(1) and (a)(2)
         work together to address the economic disruptions caused by
         the pandemic, which might lead households to lose income
         but not have immediate access to documentation of their
         reduced income. That reading “produce[s] an understanding
         of the statute as a symmetrical and coherent regulatory
         scheme.” Hernandez v. Williams, Zinman & Parham PC,
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         829 F.3d 1068, 1073 (9th Cir. 2016) (internal quotation
         marks omitted).

             We acknowledge that under the government’s reading,
         households that have not suffered income loss might receive
         a windfall of emergency aid. But that is also true under
         Hall’s reading. Indeed, Hall emphasizes that her
         interpretation, unlike the government’s, would allow
         households that had no income before the pandemic—and
         thus have suffered no income loss—to receive emergency
         allotments. Either way, Congress could reasonably have
         deemed that collateral cost justified so as to avoid having to
         reassess the incomes of all SNAP families during the
         pandemic. That result is hardly so “absurd and unjust” that
         “Congress could not have intended” it. United States v.
         Middleton, 231 F.3d 1207, 1210 (9th Cir. 2000) (quoting
         Clinton v. City of New York, 524 U.S. 417, 429 (1998)).

             By contrast, nothing in either paragraph (a)(1) or
         paragraph (a)(2) suggests a concern that the pandemic would
         increase the cost of the thrifty food plan, thereby requiring
         an increase in benefits above the maximum monthly
         allotment. Nor does any provision of the statute provide
         guidance comparable to that in section 2302(a)(2) on how
         the Secretary would assess increased food costs or decide by
         how much to increase benefits above the maximum.

             Hall suggests that section 2302(c) shows that Congress
         was concerned about disruptions to the food supply and not
         simply the loss of income, but that provision does not
         support her interpretation. Section 2302(c) requires the
         Secretary to submit a report to Congress after the pandemic
         is over describing “the measures taken to address the food
         security needs of affected populations during the emergency,
         any information or data supporting State agency requests,
         any additional measures that States requested that were not
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         approved, and recommendations” for the future. Families
         First Act, § 2302(c), 134 Stat. at 188–89. The subject matter
         of that report—including “additional measures that States
         requested”—necessarily extends beyond the distribution of
         the emergency allotments discussed in section 2302(a)(1).
         And while it is true that the concept of “food security needs”
         encompasses a broad range of issues, that does not mean that
         “temporary food needs,” as used in section 2302(a)(1), must
         be read to account for pandemic-related disruptions to the
         food supply.

             Second, topping-off SNAP benefits at the maximum
         monthly allotment for all participants is consistent with the
         statute governing USDA’s response to other crises. To meet
         “temporary food needs” arising from natural disasters,
         Congress has authorized the Secretary to “establish
         temporary emergency standards of eligibility . . . for
         households who are victims of a disaster which disrupts
         commercial channels of food distribution.” 7 U.S.C.
         § 2014(h)(1). Under that authority, USDA has created the
         Disaster Supplemental Nutrition Assistance Program (D-
         SNAP), which “provides a full month’s allotment”—“the
         maximum allotment for the household size provided under
         regular SNAP”—“to households who may not normally
         qualify for or participate in SNAP.” USDA, Disaster SNAP
         Guidance 8 (July 2014). USDA also “supplement[s] the
         regular SNAP benefits of ongoing households affected by
         the disaster to bring them up to the maximum allotment.” Id.
         That supplemental assistance offsets “the impact of
         additional disaster-related expenses” likely to “weigh
         heavily” on SNAP households and ensures “parity between
         new D-SNAP households and ongoing clients.” Id. at 35. It
         helps to offset “[l]ost or inaccessible income,”
         “[i]naccessible liquid resources,” and “[o]ut-of-pocket
         disaster-related expenses paid . . . by the household” (such
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         as “damage to or destruction of the household’s home or
         self-employment business”). Id. at 12. But it does not
         provide supplemental assistance to SNAP households
         already receiving the maximum monthly allotment. Id. at 8.

             Congress is presumed to be aware of an agency’s
         interpretation of a statute. See Forest Grove Sch. Dist. v.
         T.A., 557 U.S. 230, 239–40 (2009). We most commonly
         apply that presumption when an agency’s interpretation of a
         statute “has been officially published and consistently
         followed.” Autolog Corp. v. Regan, 731 F.2d 25, 32 (D.C.
         Cir. 1984). If Congress thereafter reenacts the same
         language, we conclude that it has adopted the agency’s
         interpretation. Id.; see also Merrill Lynch, Pierce, Fenner &
         Smith, Inc. v. Curran, 456 U.S. 353, 382 n.66 (1982). Here,
         the agency’s interpretation of D-SNAP was not reflected in
         published regulations, which weakens the inference that
         Congress had USDA’s disaster guidance in mind when it
         imported the term “temporary food needs” into the Families
         First Act. See Rabin v. Wilson-Coker, 362 F.3d 190, 197 (2d
         Cir. 2004) (questioning whether “we should assume
         Congress’s awareness of an administrative interpretation
         that does not result from notice and comment rulemaking”);
         United States v. Ray, 375 F.3d 980, 991 n.14 (9th Cir. 2004).
         Still, we find the history suggestive. Until the Families First
         Act, the provision authorizing D-SNAP was the only place
         in Title 7 where the term “temporary food needs” appeared.
         7 U.S.C. § 2014(h)(1). In construing a statute that applies to
         a “public health emergency,” Families First Act,
         § 2302(a)(2), 134 Stat. at 188, it is natural to give the term
         “temporary food needs” the same meaning that the agency
         has consistently given it in the context of other kinds of
         “temporary emergenc[ies],” 7 U.S.C. § 2014(h)(1).
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             Third, if Congress wished to provide across-the-board
         relief to households based on increased food costs, it would
         most naturally have modified the metric designed to measure
         those costs—the thrifty food plan. See 7 U.S.C. §§ 2012(u),
         2017(a). The statute already provides for periodic
         readjustment of the cost of the thrifty food plan. Id.
         § 2012(u). And in another recent national emergency,
         Congress directly adjusted the thrifty food plan. In response
         to the 2008 financial crisis, Congress expressly modified the
         maximum monthly allotment, directing USDA to calculate
         that figure “using 113.6 percent of the . . . value of the thrifty
         food plan.” American Recovery and Reinvestment Act of
         2009 (Recovery Act), Pub. L. No. 111-5, § 101(1), 123 Stat.
         115, 120. That modification resulted in precisely the result
         advocated by Hall in this case: increased SNAP benefits for
         all households, including those already receiving the
         maximum monthly allotment. We have held that “Congress
         does not use different language in different provisions to
         accomplish the same result,” and while that presumption is
         strongest when the two provisions are enacted at the same
         time, it is nonetheless relevant that Congress had before it a
         recent example of language that would have accomplished
         the result Hall claims that it intended, yet it chose not to use
         that language. United States v. Fiorillo, 186 F.3d 1136, 1148
         (9th Cir. 1999) (per curiam).

             Hall questions the comparison to the Recovery Act
         because that statute, she says, involved “a uniform
         nationwide increase in SNAP benefits” in response to a
         recession, whereas the Families First Act was enacted as
         “COVID-19’s impacts were just beginning, and their
         severity varied greatly” throughout the country. So, Hall
         argues, rather than modify the thrifty food plan, Congress
         adopted an approach that would account for variation in food
         costs and availability among States. We see no basis for that
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         assumption. The Families First Act nowhere directs the
         Secretary to calculate emergency allotments based on a
         State-by-State analysis of fluctuating food costs and
         availability. Nor does the act specify a mechanism by which
         the Secretary would develop such regionally varying food
         plans. The more natural understanding of the difference
         between the two statutes is that one increased the maximum
         monthly benefit and the other did not.

             Significantly, when Congress increased the maximum
         monthly benefit in the Recovery Act, it clearly identified the
         relevant provision under the section heading “Temporary
         Increase in Benefits Under the Supplemental Nutrition
         Assistance Program,” and subheading “Maximum Benefit
         Increase.” Recovery Act, § 101(1), 123 Stat. at 120. By
         contrast, Congress enacted section 2302 of the Families First
         Act under the nondescript heading “Additional SNAP
         Flexibilities in a Public Health Emergency,” Families First
         Act, § 2302, 134 Stat. at 188, in a title designated “SNAP
         Waivers,” id. div. B, tit. III, 134 Stat. at 187. On Hall’s
         interpretation, the Families First Act yielded a much greater
         increase in the maximum monthly allotment—doubling it,
         rather than simply increasing it by 13.6 percent, and not only
         for the poorest households, but potentially for every
         household receiving SNAP benefits. We think it implausible
         that Congress would so fundamentally alter the scheme
         using such vague and inconspicuous terms. Cf. Whitman v.
         American Trucking Ass’ns, 531 U.S. 457, 909–10 (2001)
         (“Congress . . . does not alter the fundamental details of a
         regulatory scheme in vague terms or ancillary provisions.”).

             Finally, Hall urges us to reject USDA’s interpretation of
         the statute because it would result in the denial of emergency
         allotments to some of the neediest households—namely,
         “those who already receive the maximum regular monthly
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         SNAP allotment because they have no income available to
         dedicate to purchasing food.” That is a serious concern, but
         it does not give us permission to depart from what we have
         determined to be the best reading of the statutory text. See
         New Prime Inc. v. Oliveira, 139 S. Ct. 532, 543 (2019).
         Instead, as the district court explained, “[t]his case does not
         call on [us] to decide what would be the fairest or most
         effective way to assist SNAP recipients in this era of
         COVID-19, because that judgment is committed to the
         political branches.” 467 F. Supp. 3d at 840. And as discussed
         above, it appears more likely that Congress had a different
         policy objective in mind, consistent with USDA’s responses
         to previous crises: to quickly top-off household benefits at
         the maximum monthly allotment in light of difficult-to-
         document disruptions in income.

             Because Hall is unlikely to succeed on the merits of her
         claims, the district court did not abuse its discretion in
         denying a preliminary injunction.

            AFFIRMED.



         THOMAS, Chief Judge, dissenting:

             The USDA’s interpretation of section 2302(a)(1) of the
         Families First Coronavirus Response Act (“Families First
         Act”), Pub. L. No. 116-127, 134 Stat. 178 (Mar. 18, 2020),
         cannot be squared with the text of that provision or the
         structure of the statute. Accordingly, Plaintiffs have
         established a clear likelihood of success on their claim that
         the agency’s interpretation cannot stand under 5 U.S.C.
         § 706(2). See also Winter v. Natural Res. Def. Council,
         555 U.S. 7, 20 (2008) (setting forth preliminary injunction
         factors); Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir.
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         2015) (explaining that a mandatory injunction may not issue
         unless the “law and facts clearly favor” the movant’s
         position). Because I would reverse the denial of the
         preliminary injunction and remand to the district court for
         consideration of the remaining factors under Winter, I
         respectfully dissent.

                                       I

             The Administrative Procedure Act (“APA”), 5 U.S.C.
         §§ 500 et seq., requires courts to “hold unlawful and set
         aside agency action” that is “arbitrary, capricious, an abuse
         of discretion, or otherwise not in accordance with law” or “in
         excess of statutory jurisdiction [or] authority.” 5 U.S.C.
         § 706(2)(A), (C). The threshold question for “a court
         reviewing an administrative interpretation of a statute” is
         “whether Congress has spoken clearly on the issue.” Nw.
         Ecosystem All. v. U.S. Fish & Wildlife Serv., 475 F.3d 1136,
         1141 (9th Cir. 2007). If it has, the Court “must give effect
         to the unambiguously expressed intent of Congress
         regardless of the agency’s view.” Id. at 1141 (quotation
         marks omitted); see also Resident Councils of Wash. v.
         Leavitt, 500 F.3d 1025, 1031 (9th Cir. 2007) (“If Congress
         has spoken directly to the question at hand, we may not defer
         to a contrary agency interpretation.”). Only where the
         statute is ambiguous may a court “turn to extrinsic evidence
         such as legislative history” to determine its meaning. J.B. v.
         United States, 916 F.3d 1161, 1167 (9th Cir. 2019).
         Statutory language is “ambiguous only if it is susceptible to
         more than one reasonable interpretation.” Id. (quotation
         marks omitted).

                                       A

           Section 2302(a)(1) states, in pertinent part, that the
         USDA must “provide . . . for emergency allotments to
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         households participating in [SNAP] to address temporary
         food needs not greater than the applicable maximum
         monthly allotment for the household size.” In my view, the
         most grammatical and logical construction of “not greater
         than the applicable maximum monthly allotment” (the
         “limiting clause”) is as a cap on the value of “emergency
         allotments.”     Congress did not qualify the phrase
         “households participating in [SNAP].” Therefore, the
         statute, by its plain terms, makes all SNAP households
         eligible for emergency aid, not just those that had enough
         income to afford some of their pre-COVID food needs.

                                      B

             The USDA counters that the limiting clause applies to
         the sum total of regular and emergency allotments, thus
         barring households that already receive the maximum
         monthly allotment in non-pandemic conditions (i.e., the
         neediest SNAP households) from receiving emergency aid.
         But that is not what the statute says. An agency action may
         neither amend a statute, Koshland v. Helvering, 298 U.S.
         441, 447 (1936), nor add to a statute “something which is not
         there,” United States v. Calamaro, 354 U.S. 351, 359 (1957).
         Section 2302(a)(1) does not refer to the sum of emergency
         and regular allotments; it refers to emergency allotments
         alone. It would be incongruous to construe the statute as
         imposing a statutory cap on something not mentioned in the
         statute.

                                      C

             The majority and the USDA invoke related canons of
         construction to construe the limiting clause as a cap on
         “temporary food needs,” rather than “emergency
         allotments.” The agency argues that the “last-antecedent
         rule,” under which “a limiting clause or phase . . . should
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         ordinarily be read as modifying only the noun or phrase that
         it immediately follows,” Lockhart v. United States, 136 S.
         Ct. 958, 963 (2016), requires construing “temporary food
         needs” as the last antecedent to which section 2302(a)(1)’s
         limiting clause applies. The majority invokes instead the
         “nearest-reasonable-referent canon,” but concedes that the
         “substance of the rule is the same”: “When the syntax
         involves something other than a parallel series of nouns or
         verbs, a prepositive or postpositive modifier normally
         applies only to the nearest reasonable referent.” See also
         United States v. Davis, 961 F.3d 181, 188 (2d Cir. 2020)
         (“[T]he ‘nearest reasonable referent’ rule . . . seems to be a
         close cousin of the well-established ‘rule of the last
         antecedent.’”).    Neither canon supports the agency’s
         interpretation.

             Courts typically apply the last-antecedent rule to statutes
         that “include a list of terms or phrases followed by a limiting
         clause.” Lockhart, 136 S. Ct. at 962 (emphasis added); see,
         e.g., id. (applying the rule where a statute listed the following
         predicate crimes: “aggravated sexual abuse, sexual abuse, or
         abusive sexual conduct involving a minor or ward” (citing
         18 U.S.C. § 2252(b)(2)) (emphasis added)); see also Yang v.
         Majestic Blue Fisheries, LLC, 876 F.3d 996, 999 n.2 (9th
         Cir. 2017) (“Under the last-antecedent rule, the series ‘A or
         B with respect to C’ contains two items: (1) ‘A’ and (2) ‘B
         with respect to C.’” (quotation marks omitted)), abrogated
         on other grounds by GE Energy Power Conversion France
         SAS, Corp. v. Outokumpu Stainless USA, LLC, 140 S. Ct.
         1637 (2020). Section 2302(a)(1) is not such a statute.

            Even assuming the canon can be applied in this context,
         it favors Plaintiffs’ interpretation over the agency’s.
         “[E]mergency allotments . . . to address temporary food
         needs” is best read as a unified phrase that immediately
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         precedes the limiting clause. See Lockhart, 136 S. Ct. at 963
         (“[A] limiting clause or phase . . . should ordinarily be read
         as modifying only the noun or phrase that it immediately
         follows.” (emphasis added)). Indeed, this phrase “hangs
         together as a unified whole, referring to a single thing,”
         Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, 138 S. Ct. 1061,
         1077 (2018): emergency allotments with the purpose of
         addressing temporary food needs. Accordingly, the “most
         natural way to view the modifier”—“not greater than the
         applicable maximum monthly allotment”—“is as applying
         to the entire preceding clause.” Id. at 1077 (applying the
         limiting phrase “as set forth in subsection (b)” to “any
         covered class action” where the statute at issue referred to
         “[a]ny covered class action brought in any State court
         involving a covered security, as set forth in subsection (b)”
         (citing 15 U.S.C. § 77p(c)) (emphasis added)); see also id.
         (rejecting the government’s position that, under the last-
         antecedent rule, the limiting phrase modified “involving a
         covered security”).

             Finally, even if “emergency allotments” and “temporary
         food needs” are separate antecedents or referents, both the
         last-antecedent and nearest-reasonable-referent canons
         “must yield to the most logical meaning of a statute.” James
         v. City of Costa Mesa, 700 F.3d 394, 399 n.7 (9th Cir. 2012)
         (citation omitted); see also Grecian Magnesite Mining,
         Indus. & Shipping Co., SA v. Comm’r of Internal Revenue
         Serv., 926 F.3d 819, 824 (D.C. Cir. 2019) (“The nearest-
         reasonable-referent canon—like its cousin, the last-
         antecedent rule—‘is not an absolute and can assuredly be
         overcome by other indicia of meaning.’” (quoting Lockhart,
         136 S. Ct. at 963)). For the reasons stated herein, the
         agency’s interpretation is neither the most logical nor
         reasonable reading of section 2302(a)(1).
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                                       D

             The majority concedes that applying the statute’s
         limiting clause to “temporary food needs” under the nearest-
         reasonable-referent canon “does not end the analysis”
         because “temporary food needs,” which lacks a statutory
         definition, “is susceptible to multiple readings.”
         Nevertheless, “three considerations” lead the majority to
         conclude that the agency’s “reading of section 2302(a)(1) is
         more consistent with the overall statutory scheme.” I
         respectfully disagree.

                                       1

             First, section 2302(a)(2), an adjacent provision, does not
         favor the USDA’s interpretation. To the extent that
         provision permitted the USDA to “relax[] ‘application and
         reporting requirements’” in recognition that the USDA
         “might not have access to key information affecting
         households’ eligibility for SNAP benefits, including changes
         in income,” that does not mean section 2302(a)(1)’s
         exclusive purpose is to “top-off benefits to offset sudden
         disruptions in income,” To impute that purpose to section
         2302(a)(1) is to read “temporary food needs” as “temporary
         loss of income due to stay-at-home orders” or “temporary
         food needs as a result of pandemic-related income loss.” If
         Congress had intended that meaning, it could easily have
         said so. Instead, it used the phrase “temporary food needs,”
         which must logically be construed to mean “temporary food
         needs” irrespective of their source.

             If anything, section 2302(a)(2) favors Plaintiffs’
         interpretation. Because the Families First Act does not
         provide a mechanism for verifying income loss on a
         household-by-household basis, and enables the USDA to
         waive income reporting requirements, see Families First
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         Act, § 2302(a)(2), 134 Stat. at 188, the USDA’s reading
         would mean that households that have suffered no actual
         income loss may receive emergency aid, while the poorest
         households cannot. Because the USDA’s income-focused
         conception of section 2302(a) would lead to this “absurd and
         unjust result which Congress could not have intended,”
         United States v. Middleton, 231 F.3d 1207, 1210 (9th Cir.
         2000), it cannot be the “best reading of the statutory text.”
         See Gilliam v. U.S. Dep’t of Agric., No. 20-cv-3504-JMY,
         2020 WL 5501220, at *13 (E.D. Penn. Sept. 11, 2020)
         (noting this “illogical result”).

             Additionally, Plaintiffs’ reading finds support in another
         nearby provision, section 2302(c), which reflects “a concern
         that the pandemic would increase the cost of the thrifty food
         plan.” Section 2302(c) instructs the USDA to submit a
         report to Congress, within 18 months of the public health
         emergency declaration being lifted, about “the measures
         taken to address the food security needs of affected
         populations during the emergency.” (emphasis added).
         “Food security means access by all people at all times to
         enough food for an active, healthy life.” USDA, Food
         Security in the U.S., Overview (last updated November 13,
         2020),        https://www.ers.usda.gov/topics/food-nutrition-
         assistance/food-security-in-the-us/     (emphasis      added).
         Because a household’s access to food depends on food costs
         and supply, in addition to income, section 2302(c) belies the
         conclusion that Congress did not intend to provide
         emergency aid under section 2302(a)(1) to households that
         can no longer afford to purchase adequate food with their
         non-emergency SNAP benefit because of pandemic-related
         food supply disruptions and inflation. Accordingly, the
         statute, read as a whole, demonstrates a Congressional desire
         “to address the pandemic’s impact on low-income
         households’ access to food.”
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            Next, there is no textual basis for concluding that
         Congress intended the USDA to implement section
         2302(a)(1)’s emergency allotments in the same way that the
         agency has implemented disaster-response benefits under
         7 U.S.C. § 2014(h)(1) of the Food and Nutrition Act of 2008
         (“FNA”) 1—by taking a “topping-off” approach that
         provides “supplemental allotments” to bring SNAP
         households affected by a natural disaster up to the maximum
         monthly allotment. See Disaster Snap Guidance 8, 35 (July
         2014).

             As a preliminary matter, and as the majority recognizes,
         the agency’s D-SNAP guidance does not appear in published
         regulations. Accordingly, there is no reason to “assume
         Congress’s awareness” of that interpretation. United States
         v. Ray, 375 F.3d 980, 991 n.14 (9th Cir. 2004). Even if
         Congress was aware of supplemental D-SNAP assistance,
         there is no evidence in the text or legislative history of
         section 2302(a)(1) that Congress sought to replicate those
         “supplements” when it provided for “emergency
         allotments.” See Gilliam, 2020 WL 5501220, at *15 (“If
         Congress had intended to provide COVID-19 relief under
         the auspices of D-SNAP, it could have simply enacted a
         provision stating that the COVID-19 public health

              1
                Section 2014(h)(1) directs the Secretary of Agriculture to
         “establish temporary emergency standards of eligibility for the duration
         of the emergency for households who are victims of a disaster which
         disrupts commercial channels of food distribution, if such households are
         in need of temporary food assistance and if commercial channels of food
         distribution have again become available to meet the temporary food
         needs of such households.” (emphasis added). Pursuant to this statutory
         authority, the USDA established the Disaster Supplemental Nutrition
         Assistance Program (“D-SNAP”).
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         emergency is deemed a ‘disaster’ within the meaning of
         [7 U.S.C.] § 2014(h)(1).”). Because section 2302(a)(1)
         provides for “emergency allotments” instead of
         “supplements” and does not refer to the USDA’s D-SNAP
         procedures or 7 U.S.C. § 2014(h)(1), I am unpersuaded that
         the appearance of the undefined term “temporary food
         needs” in both 7 U.S.C. § 2014(h)(1) and section 2302(a)(1)
         supports the USDA’s interpretation.

                                      3

             Finally, I disagree that Congress could not have intended
         to make emergency allotments available to all SNAP
         households, including the neediest, where it did not directly
         increase the maximum monthly allotment, as it did in the
         American Recovery and Reinvestment Act of 2009
         (“Recovery Act”), Pub. L. No. 111-5, § 101(a)(1), 123 Stat.
         115, 120 (Feb. 17, 2009) (providing for temporary
         calculation of SNAP benefits at 113.6% of the thrifty food
         plan).

             This contention disregards key contextual differences
         between the Recovery Act and the Families First Act:
         “When Congress adopted a uniform, nationwide increase in
         SNAP benefits in the Recovery Act, the country was months
         into a national recession. When it enacted the Families First
         Act, COVID-19’s impacts were just beginning, and their
         severity varied greatly among states.” The latter context led
         Congress to adopt a more flexible approach: “emergency
         allotments to address state-specific needs, determined
         through data on a state-by-state basis.” Because Congress
         used different language the two statutes to accomplish
         different results in response to different emergencies, the
         rule that “Congress does not use different language in
         different provisions to accomplish the same result” should
         have no bearing on our interpretation of section 2302(a)(1).
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         United States v. Fiorillo, 186 F.3d 1136, 1148 (9th Cir.
         1999) (per curiam) (emphasis added).

             To be sure, the Families First Act does not expressly
         “direct[] the Secretary to calculate emergency allotments
         based on a State-by-State analysis of fluctuating food costs
         and availability” or “specify a mechanism by which the
         Secretary would develop such regionally varying food
         plans.” But, as previously noted, the USDA’s income-
         focused conception of section 2302(a)(1) suffers from the
         same flaw: The Families First Act does not specify a
         mechanism for verifying income loss. Instead, the statute
         simply directs states to support their requests for emergency
         allotments with “sufficient data.” Families First Act,
         § 2302(a)(2), 134 Stat. at 188. There is no textual basis for
         concluding that “sufficient data” excludes data regarding
         “temporary food needs” resulting from sources other than
         income loss, such as food supply disruptions. Indeed,
         California’s initial request for emergency allotments for all
         California SNAP households reflected the common-sense
         understanding that “temporary food needs” may arise from
         both the loss of “essential earned income” and a shortfall in
         affordable food, which places “pressure on the emergency
         food network.”

              The majority further concludes that Plaintiffs’
         interpretation runs afoul of the principle that Congress “does
         not alter the fundamental details of a regulatory scheme in
         vague terms or ancillary provisions.” In other words,
         Congress “does not, one might say, hide elephants in
         mouseholes,” Whitman v. Am. Trucking Ass’ns, 531 U.S.
         457, 468 (2001)). This conclusion has two premises:
         (i) Plaintiffs’ interpretation has the “dramatic impact” of
         increasing monthly SNAP benefits by 200%, and
         (ii) Congress would not hide such an “elephant” under the
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         “vague,” “inconspicuous,” and “nondescript heading
         ‘Additional SNAP Flexibilities in a Public Health
         Emergency.’”      Compare Families First Act, § 2302,
         134 Stat. at 188 with Recovery Act, § 101(a), 123 Stat.
         at 120 (enacting increase to thrifty food plan under heading
         “Maximum Benefit Increase”).

             Both premises are flawed. First, Plaintiffs’ interpretation
         would only permit the poorest households to double their
         SNAP benefits if (i) a state agency requested that increase;
         and (ii) a state agency supported that request with “sufficient
         data (as determined by the Secretary through guidance).”
         Families First Act, § 2302(a)(1), 134 Stat. at 188. That is
         hardly a “dramatic” overhaul of the SNAP regulatory
         scheme, but rather a measured, reality-driven response to an
         “unprecedented pandemic of varying geographic severity
         and unknown duration.” Gilliam, 2020 WL 5501220,
         at *15. 2

             Second, even if section 2302(a)(1) amounts to an
         “elephant,” it does not hide in a “mousehole.” See Bostock
         v. Clayton Cnty., 140 S. Ct. 1731, 1753 (2020) (explaining
         that a litigant “cannot hide behind the no-elephants-in-
         mouseholes canon” without answering “[w]here’s the
         mousehole?”). Along with section 2301, section 2302 falls
         under Title III, “SNAP Waivers.” Far from being a
         “mousehole,” “SNAP Waivers” announces Congress’s
         intent to suspend enumerated aspects of the SNAP scheme
         during a public health crisis. See Families First Act,
              2
                Notably, California’s denied request did not seek an aggregate
         benefit issuance exceeding the amount allowable under the USDA’s
         interpretation. See Gilliam, 2020 WL 5501220, at *6 (explaining that
         Pennsylvania proposed to issue all SNAP households an emergency
         allotment equal to 50% of the maximum monthly allotment for their
         household size).
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         §§ 2301(a), 134 Stat. at 187–88 (waiving SNAP work
         requirements under 7 U.S.C. § 2015(o)(2), subject to one
         exception, in an effort to provide “SNAP Flexibility for
         Low-Income Jobless Workers”), 2302(a)(2), 134 Stat. at 188
         (authorizing the USDA to waive, under certain conditions,
         the FNA’s reporting and application requirements).

            In short, these three considerations cannot bear the
         weight of the USDA’s interpretation.

                                      E

             The USDA further contends that Congress’s subsequent
         passage of appropriations in the Coronavirus Aid, Relief,
         and Economic Security Act (“CARES Act”), Pub. L. No.
         116-136, 134 Stat. 281 (Mar. 27, 2020), demonstrates that it
         agreed with the USDA’s interpretation of section 2302(a).
         The majority does not rely on this consideration, and for
         good reason. There is no evidence in the record, nor in the
         CARES Act, that Congress itself was aware of—still less
         relied on—that estimate in appropriating $15.81 billion for
         SNAP under the CARES Act. Indeed, the USDA does not
         claim that its estimate—much less any assumptions made in
         preparing any estimate—was included in a committee report
         or otherwise communicated to Congress.

                                      F

             In sum, Plaintiffs have established a likelihood of
         success on the merits of their claim, and the district court
         erred in concluding otherwise. The plain language of section
         2302(a)(1) compels the conclusion that Congress did not
         intend to limit the emergency assistance available under that
         provision to the maximum amount that SNAP households
         may receive under non-emergency conditions.
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                                      II

             The district court did not reach the remainder of the
         Winter factors because it rested its decision on the first
         factor. I would remand this case to the district court for
         “consideration of the remaining Winter factors in the first
         instance.” Evans v. Shoshone-Bannock Land Use Policy
         Comm’n, 736 F.3d 1298, 1307 (9th Cir. 2013) (citation
         omitted).

            For these reasons, I respectfully dissent.
